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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,              )   CASE NO.   10-192 JAM
11                                          )
                        Plaintiff,          )   STIPULATION AND ORDER
12                                          )   CONTINUING STATUS CONFERENCE
     v.                                     )
13                                          )
     BRANDON SAVALOJA,                      )
14                                          )
                        Defendant.          )
15                                          )
                                            )
16
17        The parties request that the status conference currently set for
18   Tuesday, April 17, 2012 at 9:30 a.m., be continued to Tuesday, May 1,
19   2012 at 9:30 a.m., and stipulate that the period of time between and
20   including those dates should be excluded from the calculation of time
21   under the Speedy Trial Act.      18 U.S.C. § 3161.
22        The parties have nearly concluded all investigation and pre-plea
23   negotiations.   The parties expect that the defendant will plead
24   guilty at the next court appearance.
25        Accordingly, the parties believe that the continuance should be
26   excluded from the calculation of time under the Speedy Trial Act.
27   The additional time is necessary to ensure effective preparation,
28   taking into account the exercise of due diligence.          18 U.S.C. §

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 1   3161(h)(7)(B)(iv) and Local Code T4.        The interests of justice served
 2   by granting this continuance outweigh the best interests of the
 3   public and the defendant in a speedy trial.        18 U.S.C. §
 4   3161(h)(7)(A).
 5                                              Respectfully Submitted,
 6                                              BENJAMIN B. WAGNER
 7                                              United States Attorney

 8                                              /s/ Daniel S. McConkie
 9                                              DANIEL S. McCONKIE
     DATED: April 16, 2012               By:    Assistant U.S. Attorney
10
11
                                                /s/ Daniel S. McConkie for
12   DATED: April 16, 2012               By:    LINDSAY ANNE WESTON
                                                Attorney for the Defendant
13                                              by telephonic authorization
14
                                         ORDER
15
          The status conference currently set for Tuesday, April 17, 2012
16
     at 9:30 a.m. is continued to Tuesday, May 1, 2012 at 9:30 a.m., and
17
     the time period between and including those dates is excluded from
18
     the calculation of time under the Speedy Trial Act in accordance with
19
     18 U.S.C. § 3161 and Local Code T4.        The Court finds that the
20
     interests of justice served by granting this continuance outweigh the
21
     best interests of the public and the defendant in a speedy trial.         18
22
     U.S.C. § 3161(h)(7)(A).
23
     IT IS SO ORDERED.
24
                                                /s/ John A. Mendez
25   DATED: April 16, 2012
                                                United States District Judge
26
27
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